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                     UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW HAMPSHIRE



United States of America

     v.                                      Case No. 08-cr-39-PB

Charles Nelson, et al.


                               O R D E R


     Defendant Christian Rolon Vargus has moved to continue the

June 3, 2008 trial in the above case, citing the complexity of

the five-defendant case and the need for additional time to

review discovery and prepare for trial.        Counsel for all co-

defendants and the government do not object to a continuance of

the trial date.

     Accordingly, for the above reasons and to allow the parties

additional time to properly prepare for trial, the court will

continue the trial from June 3, 2008 to September 3, 2008.                In

agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that, for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendants in a speedy

trial.
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      The May 20, 2008 final pretrial conference is continued to

August 25, 2008 at 3:00 p.m.

      SO ORDERED.


                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

May 20, 2008

cc:   Michael Iacopino, Esq.
      Mark Howard, Esq.
      Jessica Brown, Esq.
      Stanley Norkunas, Esq.
      Kevin Sharkey, Esq.
      Drbra Walsh, Esq.
      United States Probation
      United States Marshal




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